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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


JOHNSON & JOHNSON HEALTH CARE
SYSTEMS INC.,
   1000 US Highway 202 South
   Raritan, NJ 08869,


                     Plaintiff,

       v.

XAVIER BECERRA, in his official capacity, and
U.S. DEPARTMENT OF HEALTH AND HUMAN
SERVICES,                                                    Civil Action No. 1:24-cv-3188
   200 Independence Avenue, S.W.
   Washington, DC 20201,

and

CAROLE JOHNSON, in her official capacity, and
HEALTH RESOURCES AND SERVICES
ADMINISTRATION,
  5600 Fishers Lane
  Rockville, MD 20857,

                     Defendants.




             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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                                        INTRODUCTION

       1.      In 1992, Congress enacted the federal 340B Drug Pricing Program (“340B

Program”) with the important goal of helping uninsured and indigent patients gain greater access

to reduced-cost medications. But more than thirty years later, the 340B Program is being regularly

abused by entities it was never intended to benefit. Over time, the program has strayed far from

its original aim and transformed into the second-largest federal drug program in the United States,

smaller only than Medicare. Instead of supporting uninsured or indigent patients, it now primarily

benefits sophisticated, well-resourced hospital systems and major for-profit retail pharmacy chains

and their affiliated pharmacy benefit managers (“PBMs”). A lack of transparency has also

subjected the program to rampant abuse, to the detriment of patients.

       2.      Plaintiff Johnson & Johnson Health Care Systems Inc. (“J&J”) has been a proud

participant in the 340B Program for more than three decades. J&J is committed to the 340B

Program as it was originally intended: to assist vulnerable patients. This case is about J&J’s efforts

to bring much-needed transparency to the 340B Program today. An expedited adjudication of

J&J’s right to proceed with this initiative—which J&J has temporarily halted, pending resolution

of these issues—is essential to preserving the integrity of a sustainable 340B Program and to

ensuring that patients in need receive the benefits Congress intended.

       3.      In enacting the 340B Program, Congress permitted a small, narrowly-defined set of

providers who treat significant numbers of low-income or indigent patients to receive substantial

discounts when purchasing outpatient prescription medications. By its terms, the 340B statute, 42

U.S.C. § 256b, requires manufacturers of outpatient drugs to enter into an agreement with the U.S.

Department of Health and Human Services (“HHS”), known as a Pharmaceutical Pricing

Agreement (“PPA”), under which the manufacturer must offer reduced prices to specific categories




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of providers specified in the statute. Entry into the PPA is required for a manufacturer’s products

to receive reimbursement under Medicare Part B and “Federal Financial Participation” under state

Medicaid programs.

       4.      The 340B statute makes clear on its face that manufacturers may effectuate the

340B price for covered entities through varying mechanisms, including both upfront discounts and

post-purchase rebates. In relevant part, the statute directs that, in the PPA, each manufacturer and

HHS must agree that “the amount required to be paid (taking into account any rebate or discount,

as provided by the Secretary) to the manufacturer for covered outpatient drugs . . . [will] not

exceed” the “ceiling price.” 42 U.S.C. § 256b(a)(1) (emphasis added). The PPA, a form agreement

promulgated by Defendants, neither mandates nor prohibits manufacturer use of a particular

pricing mechanism.

       5.      Exercising its discretion to select a mechanism for offering 340B prices, on August

23, 2024, J&J announced that it intended to shift from utilizing the current pricing model to using

a limited-scope rebate model beginning on October 15, 2024 (the “Rebate Model”).                J&J

announced that its Rebate Model would apply at implementation to just two of J&J’s drugs and to

purchases by just one type of 340B covered entity—disproportionate share hospitals (“DSH”

covered entities). J&J’s Rebate Model does not change the universe of 340B-eligible transactions

or the amount of the ceiling price offered for either drug.

       6.      DSH covered entities include some of the largest, most financially robust, and

administratively sophisticated hospitals in the country. Although DSH covered entities today

account for less than 10% of all covered entities, they are responsible for nearly 78% of all 340B

purchases, and many of them report billions of dollars in annual revenue. Between early 2021 and

mid-2024, purchases by DSH covered entities of J&J’s 340B products grew 66%, while purchases




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by all covered entities of J&J’s 340B products increased 46%—despite the fact that, between 2013

and 2021, the size of the vulnerable patient population declined by half.

       7.      J&J’s Rebate Model would not apply to covered entities other than DSH entities,

such as federally qualified health centers, rural referral centers, sole community hospitals, critical

access hospitals, and various other types of clinics and federal grant recipients.

       8.      J&J’s Rebate Model responds to significant, well documented deterioration in the

integrity of the 340B Program over the past several years. Despite Congress’s good intent in 1992,

the reality is that today’s 340B Program is not operating consistent with that intent. Instead, the

340B Program has been overtaken by for-profit entities, including the nation’s largest pharmacy

chains and PBMs, who have exploited the Program for profit. Numerous reports by government

watchdogs have found that covered entities are reaping immense profits on reduced-price

medications—but failing to pass along those discounts to patients.

       9.      At the same time, the Health Resources and Services Administration (“HRSA”),

the sub-agency within HHS that administers the 340B Program, has conducted hundreds of audits

demonstrating that a substantial proportion of covered entities were non-compliant with provisions

in the 340B statute that prohibit program abuse. These provisions bar covered entities from

obtaining the 340B price on the same drug purchase that receives a Medicaid rebate (known as a

“duplicate discount”) or “diverting” 340B-priced drugs to individuals who are not their patients.

For example, of 1,242 audits that HRSA conducted of covered entities between 2012 and 2019,

HRSA made 546 findings of diversion and 429 findings relating to duplicate discounts with the

Medicaid program.

       10.     J&J’s own efforts to conduct HRSA-approved audits of covered entities have been

thwarted. Although J&J received HRSA approval to audit 11 covered entities earlier this year,




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almost all of these covered entities have defied HRSA’s approval. Rather than participating in the

audits, numerous covered entities first sought rescission of the audit approvals from HRSA and

then refused to produce their records, in direct violation of their statutory obligations. Several

covered entities have taken the unprecedented step of filing suit in this district challenging HRSA’s

approvals of J&J’s audits. The limited nature of manufacturer audits generally raises questions

about their ability to combat overall program abuse at its current scale. Obstruction has rendered

even this limited mechanism effectively unavailable.

        11.      J&J’s Rebate Model is necessary to ensure the integrity of the 340B Program, by

more comprehensively providing the transparency sought through the audit process. The model

would address the realities of today’s healthcare delivery systems, in which access to real-time

data is essential to manufacturers and other 340B Program stakeholders. For example, the Rebate

Model would mitigate duplicate discounting between 340B purchases and rebates sought on the

same medicines by various other downstream customers, in violation of the 340B statute.

Moreover, the Rebate Model is the only mechanism J&J is currently aware of that would enable

J&J to meet its statutory obligation under the Inflation Reduction Act (“IRA”). The IRA requires

J&J to offer covered entities the lower of the 340B ceiling price or the IRA’s “Maximum Fair

Price” (“MFP”) on applicable drugs, and to transmit the MFP to dispensing entities within 14 days.

J&J needs real-time data identifying 340B-dispensed drugs in order to determine whether MFP or

340B pricing applies to each prescription claim and to transmit funds within the 14 days required

by the Centers for Medicare & Medicaid Services (“CMS”). The Rebate Model would thus enable

J&J to comply with the IRA’s prohibition of duplicate discounts across the MFP and the 340B

ceiling price.




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        12.     J&J’s Rebate Model is similar to the so-called “replenishment models” covered

entities currently use for 340B purchasing. Under replenishment models, covered entities and their

contract pharmacies purchase drug units at wholesale acquisition cost and then realize the 340B

price only after placing orders at the 340B-reduced price to “replenish” the pharmacy’s stock.

Although the 340B statute is silent on replenishment models, HRSA has acquiesced to their

widespread use by covered entities, without ever asserting that the agency’s permission was

required or issuing an explanatory guidance document setting forth the basis for its approval.

Notably, replenishment models act materially the same as rebate models, allowing the 340B

discount to be effectuated after the initial sales transaction.

        13.     Notwithstanding the permissibility of J&J’s Rebate Model under the 340B statute

and the substantial program integrity benefits that the Rebate Model will provide, HRSA informed

J&J in letters sent on August 14, 2024 (the “August 14 Letter”), September 17, 2024 (the

“September 17 Letter”), and September 27, 2024 (the “September 27 Letter”) that (a) the HHS

Secretary has discretion over whether to approve J&J’s Rebate Model; (b) the Secretary has not

given such approval for J&J’s Rebate Model; (c) if J&J proceeds with implementing its Rebate

Model without HRSA approval, it would violate the 340B statute; and (d) absent J&J informing

HRSA by September 30, 2024 that it would cease implementation of its Rebate Model, HRSA

would impose draconian sanctions, including referring J&J for imposition of substantial civil

penalties and terminating J&J’s PPA, depriving 340B, Medicaid, and Medicare patients of access

to all of J&J’s medicines—not just the products subject to the Rebate Model.

        14.     The August 14 Letter, September 17 Letter, and September 27 Letter, which

announce HRSA’s definitive interpretation of the 340B statute, are final agency actions that are

arbitrary and capricious and contrary to law. The 340B statute does not authorize HRSA to




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mandate through a letter that manufacturers must use a specific mechanism for effectuating the

340B price. To the contrary, to the extent HRSA has authority to direct a pricing mechanism at

all, the plain text of the 340B statute requires that it do so only through the PPA. Because J&J’s

PPA contains no such direction or requirement, J&J as a matter of law retains full discretion to

utilize the pricing mechanism of its choice.

        15.     The September 17 Letter also wrongly asserts that J&J’s Rebate Model would

violate the 340B statute by requiring DSH covered entities to purchase J&J’s medicines “at prices

that exceed ‘the maximum price[s] that covered entities may permissibly be required to pay’ for

those drugs.” That conclusion ignores that the 340B statute—on its face—recognizes rebates as a

mechanism for effectuating the 340B price and that rebates, by definition, involve transactions

with an initial cost that is higher than the actual price paid after the rebate is applied.

        16.     On September 30, 2024, J&J notified HRSA that, because of HRSA’s threats to

terminate J&J’s PPA, J&J had no choice but to forgo implementation of the Rebate Model pending

resolution of these issues. Absent HRSA’s threats of severe and disproportionate sanctions,

including termination of J&J’s PPA, J&J would have proceeded with the Rebate Model as

announced on October 15, 2024.

        17.     The Rebate Model that J&J intends to launch represents a limited but significant

step toward remedying the dysfunction and abuse that pervades today’s 340B Program. Neither

the universe of eligible 340B claims nor the amount of the 340B price to DSH covered entities

would change. Instead, DSH covered entities would receive rebates effectuating the 340B price

within seven to ten days from when they provide data confirming the purchase and dispense.

        18.     HRSA’s threats to seek civil monetary penalties (“CMPs”) and terminate J&J’s

PPA are grossly disproportionate to the impact of J&J’s modest proposal to offer (the same) deeply




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discounted prices to one category of 340B covered entities through a commercially-standard

rebate. Termination of J&J’s PPA would mean that millions of the country’s most vulnerable

patients who rely on Medicaid and Medicare for healthcare would be denied access to all J&J

medicines—including medicines that treat cancer, mental illness and other serious and life-

threatening diseases.

       19.     HRSA’s attempts to bar J&J from bringing transparency to the 340B Program

through implementation of the Rebate Model are fundamentally at odds with the 340B statute, the

Administrative Procedure Act, and HRSA’s own stated program integrity goals. They are also

entirely inconsistent with the approach that HRSA has taken regarding the replenishment models

that covered entities unilaterally implemented more than a decade ago, even though replenishment

models have many of the same features and operate in materially the same manner as J&J’s

proposed Rebate Model. The Court should declare that HRSA’s August 14, September 17, and

September 27 letters purporting to prohibit J&J from adopting the Rebate Model are unlawful; set

the letters aside; and enjoin Defendants from commencing any enforcement action against J&J

relating to or arising from the implementation of the Rebate Model.

                                JURISDICTION AND VENUE

       20.     This action arises under, and asserts violations of, the Administrative Procedure

Act (“APA”), 5 U.S.C. § 551 et seq., and Section 340B of the Public Health Service Act, 42 U.S.C.

§ 256b. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1346. An

actual controversy exists between the parties within the meaning of 28 U.S.C. § 2201(a), and this

Court may grant declaratory relief, injunctive relief, and other appropriate relief pursuant to the

Declaratory Judgment Act, 28 U.S.C. §§ 2201-02, and the APA, 5 U.S.C. §§ 705-06.




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        21.     HRSA’s determinations in its August 14 Letter, September 17 Letter, and

September 27 Letter that J&J’s Rebate Model violates the 340B statute, and that HRSA has

discretion to mandate a 340B pricing mechanism through a procedure other than a PPA

amendment, are final agency actions that are inconsistent with the statute’s plain text and subject

to judicial review under the APA. See 5 U.S.C. §§ 704, 706.

        22.     Venue is proper in this Court under 28 U.S.C. § 1391(e)(1) because this action

seeks relief against federal agencies and officials acting in their official capacities; at least one

defendant is located in this district; and a substantial part of the events or omissions giving rise to

the claim occurred in this district.

                                             PARTIES

        23.     Plaintiff J&J is a New Jersey corporation with its principal place of business in

Raritan, New Jersey. J&J has participated in the 340B Program for more than thirty years.

        24.     Defendant Xavier Becerra is the Secretary of HHS. He has ultimate responsibility

for oversight of the activities of HRSA, including with regard to the administration of the 340B

Program and the actions complained of herein. He is being sued in his official capacity. Secretary

Becerra maintains an office at 200 Independence Avenue, S.W., Washington, DC 20201.

        25.     Defendant HHS is an executive department of the United States government that is

responsible for HRSA and the 340B Program. HHS is headquartered in Washington, D.C.

        26.     Defendant Carole Johnson is the Administrator of HRSA. She is being sued in her

official capacity. Administrator Johnson maintains an office at 5600 Fishers Lane, Rockville, MD.

Administrator Johnson, among other duties, has ultimate responsibility for HRSA’s Office of

Pharmacy Affairs and its administration of the 340B Program.




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       27.     Defendant HRSA is an administrative agency of the United States government

within HHS. It is the division of HHS charged with administering the 340B Program. HRSA is

headquartered in Rockville, Maryland.

                                  FACTUAL ALLEGATIONS

              The Federal 340B Program Caps Drug Prices for Certain Covered
                Entities that Provide Healthcare to Underserved Populations

       28.     Section 340B of the Public Health Service Act establishes a federal program that

“imposes ceilings on prices drug manufacturers may charge for medications sold to specified

health-care facilities,” known as covered entities, that provide healthcare to certain underserved

populations. Astra USA, Inc. v. Santa Clara Cnty., 563 U.S. 110, 113 (2011).

       29.     Section 340B defines “covered entity” to include 15 carefully drawn and narrow

categories of healthcare providers, including distinct parts of specified types of hospitals and

recipients of certain federal grants. 42 U.S.C. § 256b(a)(4)(A)-(O).

       30.     Among these categories of healthcare providers are DSH covered entities. A DSH

covered entity is a hospital that satisfies all three of the following criteria: (i) it “is owned or

operated by a unit of State or local government, is a public or private non-profit corporation which

is formally granted governmental powers by a unit of State or local government, or is a private

non-profit hospital which has a contract with a State or local government to provide health

care services to low income individuals who are not entitled to benefits under title XVIII of

the Social Security Act . . . or eligible for [certain] assistance under the [Public Health Service

Act]”; (ii) “for the most recent [Medicare] cost reporting period that ended before the calendar

quarter involved, [it] had a disproportionate share adjustment percentage (as determined under [42

U.S.C. § 1395ww(d)(5)(F)]) greater than 11.75 percent or was described [at 42 U.S.C. §

1395ww(d)(5)(F)(i)(II)]”; and (iii) it “does not obtain covered outpatient drugs through a group



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purchasing organization or other group purchasing arrangement.” 42 U.S.C. § 256b(a)(4)(L).

DSH covered entities are typically large, sophisticated hospital systems that can generate billions

of dollars in revenue. They employ thousands or tens of thousands of people and utilize complex

data systems, including for billing.

       31.     A pharmaceutical manufacturer must enter into a PPA with HHS for its products to

receive reimbursement under Medicare Part B and for a state Medicaid program to receive “Federal

Financial Participation” for the manufacturer’s products. See 42 U.S.C. § 256b(a)(1). Under the

PPA, a manufacturer must, among other things, “offer each covered entity covered outpatient

drugs for purchase” at a specified discount price “if such drug is made available to any other

purchaser at any price.” Id. This is known as Section 340B’s “must-offer” requirement.

       32.     Congress enacted Section 340B in 1992 to address an unintended consequence of

the Omnibus Budget Reconciliation Act of 1990, Pub. L. No. 101-508, 104 Stat. 1388. Among

other things, the 1990 Act established the Medicaid Drug Rebate Program, which altered pricing

rules that had previously enabled some manufacturers to voluntarily provide lower prices on their

drugs to safety net providers. The 340B Program restored the pre-1990 status quo, making the

pre-1990 prices available again to covered entities but now exempting those lower prices from

impacting the manufacturer’s rebate obligations under the Medicaid rebate program. See H.R.

Rep. No. 102-384, pt. 2, at 10-12 (1992) (House committee report explaining that the 340B

Program would “remove any disincentive that the Medicaid rebate program creates to discourage

manufacturers from providing substantial voluntary or negotiated discounts to these clinics,

programs, and hospitals”).

       33.     Over time, however, covered entities realized that they could take advantage of the

340B Program to generate “revenue from serving insured patients: they turn a profit when




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insurance companies reimburse them at full price for drugs that they bought at the 340B discount.”

Sanofi Aventis U.S. LLC v. HHS, 58 F.4th 696, 699 (3d Cir. 2023); see Novartis Pharms. Corp. v.

Johnson, 102 F.4th 452, 457 (D.C. Cir. 2024) (covered entities generate revenue from the “spread

between the discounted price and the higher insurance reimbursement rate”). In other words,

covered entities benefit from the spread between a 340B drug’s acquisition cost (i.e., the

discounted 340B price) and negotiated rate at which insurance companies reimburse for the

product (i.e., a commercial rate likely approximate to the undiscounted list price). Eligibility to

purchase drugs at 340B prices thus confers an extremely valuable benefit on covered entities, who

have “a financial incentive to catalog as many prescriptions as possible as eligible for [a 340B]

discount.” Novartis, 102 F.4th at 457-58. Put simply, what was intended as a buy-low/sell-low

program for vulnerable patients has turned into a buy-low/sell-high commercial business

opportunity disconnected from its public health mission. This is the opposite of how charity care

should be funded: the 340B Program creates incentives to provide services to insured patients

rather than those vulnerable populations most in need of affordable care. See, e.g., Rory Martin et

al., IQVIA, Unintended Consequences: How the Affordable Care Act Helped Grow the 340B

Program 5 (Aug. 30, 2024) (Unintended Consequences), https://bit.ly/3XFDWh8.

       34.     In enacting Section 340B, Congress sought to balance its goal of increasing patient

access against the need to “assure the integrity of the drug price limitation program.” H.R. Rep.

No. 102-384, pt. 2, at 16. To that end, the 340B statute limits 340B pricing in two important

respects. First, covered entities may not obtain 340B pricing on units of drugs that are also subject

to the payment of a rebate under Medicaid (known as a “duplicate discount”). 42 U.S.C.

§ 256b(a)(5)(A). Second, covered entities may not resell or otherwise transfer 340B drugs to a

person who is not a patient of the covered entity (known as “diversion”). Id. § 256b(a)(5)(B). A




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covered entity that “knowingly and intentionally” engages in diversion must pay monetary

penalties. Id. § 256b(d)(2)(B)(v)(I).

       35.     In addition, the 340B statute authorizes HRSA and manufacturers to conduct audits

of covered entities’ compliance with the diversion and duplicate discounting prohibitions:

       A covered entity shall permit the Secretary and the manufacturer of a covered outpatient
       drug that is subject to an agreement under this subsection with the entity (acting in
       accordance with procedures established by the Secretary relating to the number, duration,
       and scope of audits) to audit at the Secretary’s or the manufacturer’s expense the records
       of the entity that directly pertain to the entity’s compliance with the requirements described
       in subparagraphs (A) or (B) with respect to drugs of the manufacturer.

Id. § 256b(a)(5)(C) (emphasis added). As the text makes clear, covered entities have a statutory

duty to comply with such audits.

       36.     In addition to regulating covered entities, the 340B statute also provides HRSA

with the ability to take enforcement action against manufacturers who are found not to be

complying with program requirements. Manufacturers that “knowingly and intentionally charge[]

a covered entity a price for purchase of a drug that exceeds the [340B ceiling price]” are subject

to CMPs. Id. § 256b(d)(1)(B)(vi)(III). The amount of the penalty is decided on a case-by-case

basis, with a maximum of “$5,000 for each instance of overcharging,” id. § 256b(d)(1)(B)(vi)(II),

an amount that has been administratively adjusted for inflation up to the current maximum of

$6,813. 88 Fed. Reg. 69,531, 69,535 (Oct. 6, 2023). HRSA has interpreted the phrase “instance

of overcharging” to mean “any order for a covered outpatient drug, by NDC [a unique product

identifier for each prescription drug product], which results in a covered entity paying more than

the [340B] ceiling price.” 42 C.F.R. § 10.11(b). In addition, “[e]ach order for an NDC will

constitute a single instance, regardless of the number of units of each NDC ordered.” Id.

§ 10.11(b)(1). HRSA initiates a CMP action by issuing a referral to HHS’s Office of the Inspector




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General, which has been delegated the HHS Secretary’s authority to assess CMPs. 42 C.F.R. §

1003.150.

   The 340B Statute Allows Manufacturers to Select the Mechanism for Offering Reduced-
                            Priced Drugs to Covered Entities

       37.     The 340B statute directs the HHS Secretary to “enter into an agreement with each

manufacturer of covered outpatient drugs under which the amount required to be paid (taking into

account any rebate or discount, as provided by the Secretary) to the manufacturer for covered

outpatient drugs . . . does not exceed” the “ceiling price.” 42 U.S.C. § 256b(a)(1) (emphasis

added). The statute on its face thus contemplates both “rebate[s]” and discount[s]” as options for

furnishing the 340B price to covered entities, id., and does not specify which mechanism

manufacturers must use. Likewise, the PPA—the “agreement” referred to in the statute—does not

address the pricing mechanism to be used.

       38.     To date, manufacturers participating in the 340B Program have offered the 340B

price largely through a discount process. Broadly speaking, manufacturers supply their products

to wholesalers at the wholesale acquisition cost (“WAC”); wholesalers then resell the drugs to

covered entities at 340B prices; and wholesalers subsequently invoice the manufacturer for the

difference between the WAC and the 340B price.

       39.     From its original enactment, the 340B statute was understood as affording

manufacturers reasonable discretion over how best to make 340B-discounted prices available to

covered entities. In 1992, the House Energy and Commerce Committee issued a report on a bill

that became part of the Veterans Health Care Act of 1992 (“VHCA”), Pub. L. 102-585, 106 Stat.

4943, which established the 340B Program. H.R. Rep. No. 102-384, pt. 2 (1992). The report made

clear that the legislation contemplated manufacturers using different mechanisms, including

rebates, for providing 340B pricing to covered entities. The Committee noted this point multiple



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times, explaining that “manufacturers, as a condition of receiving Federal Medicaid matching

funds on their covered outpatient drugs, would have to enter into an agreement with the Secretary

of HHS to provide price reductions (whether through a discount, rebate, or other mechanism) to

these ‘covered entities’ on covered outpatient drugs.” Id. at 12 (emphasis added); see id. at 16

(“The Committee bill does not specify whether ‘covered entities’ would receive these favorable

prices through a point-of-purchase discount, through a manufacturer rebate, or through some other

mechanism.”).

       40.      In addition to the House report, the Senate sponsor of the legislation explained in a

floor speech that the bill would require manufacturers to enter agreements “to provide rebates or

discounts” to covered entities. 138 Cong. Rec. 34279, 34293 (1992) (statement of Sen. Alan

Cranston); see id. at 34294 (repeatedly referring to provisions addressing “rebate or discount

agreement[s]” and “duplicate rebates and discounts”). These remarks confirm what the statute’s

plain text already makes clear: Congress intended to establish rebates as an acceptable mechanism

through which manufacturers could offer the 340B price to covered entities, providing

manufacturers commercial flexibility in administering the program.

       41.      Guidance issued a few years later makes clear that HRSA similarly understood that

the 340B statute’s pricing mechanism allowed for the use of rebates. In 1997, HRSA proposed

guidance recognizing a rebate option for extending 340B pricing to State AIDS Drug Assistance

Programs (“ADAPs”), a category of covered entity. 62 Fed. Reg. 45,823 (Aug. 29, 1997). The

proposed guidance relied on the 1992 committee report to confirm HRSA’s understanding that

“section 340B does not specify whether entities should receive the section 340B pricing ‘through

a point of purchase discount, through a manufacturer rebate, or through some other mechanism.’”

Id. at 45,824 (quoting H.R. Rep. No. 102-384, pt. 2, at 16). HRSA’s final guidance, issued the




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following year, confirmed that HRSA was not “propos[ing] a specific mechanism for accessing

[340B] rebates” in order to “allow maximum flexibility between a State ADAP and manufacturers

in the development of contracts and agreements.” 63 Fed. Reg. 35,239, 34,239, 35,241 (June 29,

1998).

         42.   In 2010, as part of the Affordable Care Act, Congress amended Section 340B in

several respects, including by adding language providing that each PPA must “require that the

manufacturer offer each covered entity covered outpatient drugs for purchase at or below the

applicable ceiling price.” 42 U.S.C. § 256b(a)(1). But this language was not intended to, and did

not, eliminate rebates as a permitted mechanism for “offering” drugs for purchase at 340B prices.

In particular, Congress did not remove or alter the preexisting statutory language that HRSA had

read as allowing the use of rebates as a mechanism for offering 340B prices. See id. (retaining the

“rebate or discount” language as first sentence of subparagraph).         That language remains

unchanged to the present day. And, to this day, HRSA guidance permits rebate models with

respect to ADAPs.

         The 340B Program Has Experienced Rampant Growth and Abuse

         43.   Since its inception in 1992, the 340B Program has expanded dramatically,

becoming the second-largest federal prescription drug program in the country. The 340B Program

has also changed considerably over time. Among other things, 340B entities have entered into so-

called “contract pharmacy” arrangements, under which 340B covered entities “contract with

outside pharmacies” for the distribution of 340B-discounted drugs. Novartis Pharms. Corp. v.

Johnson, 102 F.4th 452, 455 (D.C. Cir. 2024). Because pharmacy patients or their insurers often

pay full price for drugs purchased at contract pharmacies, the arrangement enables the generation

of revenue—which is shared by for-profit pharmacies, PBMs and covered entities—from the




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“spread between the discounted price and the higher insurance reimbursement rate.” Id. at 457.

Covered entities’ use of these “contract pharmacies” has exploded over time; between 2010 and

2019, the number of contract pharmacies dispensing 340B drugs ballooned from 1,300 to 23,000.

U.S. Gov’t Accountability Off., GAO-20-212, 340B Drug Discount Program: Oversight of the

Intersection with the Medicaid Drug Rebate Program Needs Improvement 2 (Jan. 27, 2020) (2020

GAO Report), https://bit.ly/3ZG0ctH. The contract pharmacy industry is now dominated by a

handful of multi-billion dollar for-profit pharmacy chains and PBMs, including CVS Health,

Walgreens, Cigna (via Express Scripts), UnitedHealth Group (via OptumRx), and Walmart. Adam

Fein, EXCLUSIVE: For 2023, Five For-Profit Retailers and PBMs Dominate an Evolving 340B

Contract Pharmacy Market, Drug Channels (July 11, 2023), https://bit.ly/3ZH23yG.

       44.     Because the number of uninsured patients has declined over time, it is more likely

that patients prescribed drugs by 340B covered entities often have insurance, which could include

Medicare, Medicaid, TRICARE or commercial insurance. Until there is a mechanism to identify

340B eligible patients in real time—which a rebate model would provide—manufacturers may

pay duplicate discounts on the same unit: a 340B discount to a covered entity on the upfront sale

and a back-end rebate to the patient’s insurer.

       45.     As a result of these and other significant changes within the 340B Program,

program abuse has also become rampant. There is a substantial and growing body of documented

evidence of diversion or duplicate discounting by covered entities in violation of the 340B statute.

Such abuses of the 340B Program threaten the Program’s integrity and should be of great concern

for all stakeholders.

       46.     For example, in 2020, the U.S. Government Accountability Office (“GAO”) found

that, of 1,242 audits that HRSA conducted of covered entities from fiscal years 2012 through 2019,




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HRSA made 546 findings of diversion and 429 findings relating to duplicate discounts with the

Medicaid program. U.S. Gov’t Accountability Off., GAO-21-107, Drug Pricing Program: HHS

Uses Multiple Mechanisms to Help Ensure Compliance with 340B Requirements 13 (Dec. 14,

2020), https://bit.ly/4dniPpD. In other words, nearly 35% of HRSA’s audits during that time

period resulted in a finding of duplicate discounting, and 44% resulted in a finding of diversion.

       47.     Audits that HRSA has conducted more recently show that this trend has not abated.

Indeed, out of the 198 audits HRSA conducted in fiscal year 2022 and has finalized to date, HRSA

discovered at least 28 covered entities with instances of duplicate discounts, as well as evidence

that nearly two dozen covered entities had diverted 340B drugs. See HRSA, Program Integrity:

FY22 Audit Results, https://bit.ly/4ekBOlN (last updated Oct. 28, 2024). Likewise, out of the 161

audits HRSA conducted in fiscal year 2023 and has finalized to date, HRSA discovered at least 25

covered entities with instances of duplicate discounts, as well as evidence that more than a dozen

covered entities had diverted 340B drugs. See HRSA, Program Integrity: FY23 Audit Results,

https://bit.ly/4dpSxTs (last updated Oct. 28, 2024). These findings are particularly troubling given

that HRSA audits fewer than 2% of covered entities on an annual basis, meaning the full scope of

program abuse is likely even greater than HRSA’s findings demonstrate.

       48.     Moreover, HRSA has only limited capabilities to detect and address covered entity

noncompliance with the 340B statute through its audit processes. For example, HRSA’s audits of

covered entities do not assess all potential duplicate discounts because they focus only on Medicaid

fee-for-service arrangements and do not include a review of Medicaid managed care claims. U.S.

Gov’t Accountability Off., GAO-18-480, Drug Discount Program: Federal Oversight of

Compliance at 340B Contract Pharmacies Needs Improvement 39 (June 2018) (2018 GAO




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Report), https://bit.ly/3N0XHdX. As a result, “manufacturers are at risk of being required to

erroneously provide duplicate discounts for Medicaid prescriptions.” Id. at 40.

       49.     The fact that HRSA does not assess potential duplicate discounting on Medicaid

managed care claims is particularly concerning given the growth in states’ usage of Medicaid

managed care models over time. Today, 33 states and the District of Columbia utilize a managed

care model only, and 74% of all Medicaid beneficiaries nationwide receive their care through

managed care organizations (“MCOs”). Elizabeth Hinton & Jada Raphael, Kaiser Family Found.,

10 Things to Know About Medicaid Managed Care (May 1, 2024), https://bit.ly/3zJSzbm. In other

words, HRSA’s audits do not reach the vast majority of Medicaid claims, thereby leaving

manufacturers without a key protection against this statutory violation.

       50.     GAO found similar risks in a 2020 report. Noting the expansion of both the 340B

Program and the Medicaid Drug Rebate Program, GAO explained that the potential for duplicate

discounts has increased significantly. 2020 GAO Report at 2. Despite that risk, GAO found that

“HRSA’s audits do not provide the agency with reasonable assurance that covered entities are

taking the necessary steps to prevent duplicate discounts,” putting manufacturers “at risk of being

required to erroneously provide duplicate discounts for Medicaid drugs.” Id. at 25.

       51.     CMS also has not taken sufficient action to address duplicate discounting. In its

recent final rule implementing the Medicaid Drug Rebate Program, CMS required states to direct

their Medicaid MCOs to use Medicaid-specific group numbers for all Medicaid beneficiaries. 89

Fed. Reg. 79,020, 79,026-29 (Sep. 26, 2024). Currently, MCOs may use the same group identifiers

for both their Medicaid and commercial plans, making it difficult to distinguish between these

patients. CMS noted that this change “may help States and their managed care plans avoid

invoicing for rebates on 340B drugs by identifying which plans are covered under Medicaid.” Id.




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at 79,029. However, this step does not go far enough to solve for the risk of duplicate discounts.

CMS affirmatively rejected suggestions to require pharmacies to use the identifiers to flag a

specific claim as Medicaid-reimbursed and declined to require claims-level identifiers that would

show in real time whether a unit dispensed under Medicaid was purchased under the 340B

Program. Id. at 79,028-29. In other words, although MCOs will be required to identify their plans

through a unique group identifier, covered entities still will not be required to identify units

purchased at the 340B price for such Medicaid MCO utilization. CMS acknowledged that its

proposal “will not fully address the risk of 340B duplicate discounts in Medicaid managed care.”

Id. at 79,028. Yet the agency asserted that any further policies to mitigate duplicate discounting

risk were “outside of the scope of this final rule.” Id. at 79,029. Thus, the risk of duplication

between a 340B discount and a Medicaid rebate payment on the same unit of drug will persist,

notwithstanding the new CMS regulation.

             The Emergence of Replenishment Models Exacerbates These Issues and
                           Further Undermines Program Integrity

       52.      These issues and abuses have been aggravated and magnified by the development

of new technology systems and capabilities that covered entities have used to change their 340B

Program operations. Most prominently, more than a decade ago, covered entities began to

purchase drugs through the use of so-called “replenishment models” in which covered entities and

their contract pharmacies make the initial purchase of a product at its (non-discounted) commercial

price, dispense the product to an individual who is later determined to be a patient of the 340B

entity, and then receive a replacement unit at 340B-discounted prices to “replenish” the

pharmacy’s stock.     See Novartis Pharms., 102 F.4th at 457-58 (describing operation of

replenishment models); see also Decl. of Krista M. Pedley ¶¶ 5-9, Sanofi-Aventis U.S., LLC v.




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HHS, No. 3:21-cv-634 (D.N.J. June 24, 2021) (Pedley Decl.), ECF No. 93-2 (HRSA description

of replenishment models).

       53.     The D.C. Circuit recently described replenishment models as follows:

       The mechanism for distributing covered drugs [under the 340B Program] also has evolved.
       While some contract pharmacies maintain separate inventories of section 340B drugs, most
       fill prescriptions from inventories that intermingle discounted and non-discounted drugs.
       Only after dispensing the drugs do these pharmacies attempt to discern whether individual
       customers were patients of covered entities—in other words, whether individual
       prescriptions were eligible for the discount. Many pharmacies outsource this determination
       to third-party administrators, who often receive a larger fee for every prescription deemed
       eligible for the discount. Once the pharmacy or the administrator categorizes a certain
       number of prescriptions as eligible, the pharmacy places an order to replenish its section
       340B purchases. The covered entity, the pharmacy, and the third-party administrator often
       divvy up the spread between the discounted price and the higher insurance reimbursement
       rate. Each of these actors thus has a financial incentive to catalog as many prescriptions as
       possible as eligible for the discount.

Novartis Pharms., 102 F.4th at 457-58. Thus, replenishment models work after-the-fact, to

reconcile transactions made initially at a commercial price to the 340B discount, analogous to a

rebate mechanism.

       54.     HRSA has acknowledged the widespread usage of replenishment models in

litigation. See Pedley Decl. ¶¶ 5-9, Sanofi-Aventis U.S., No. 3:21-cv-634 (D.N.J. June 24, 2021),

ECF 93-2.     However, HRSA has never affirmatively authorized covered entities to utilize

replenishment models, nor has it undertaken any process to assess and approve or reject the use of

the replenishment model—in contrast to its view of approval requirements for rebate models, as

discussed below.

         Program Abuse by DSH Covered Entities Has Been Particularly Concerning

       55.     DSH covered entities are responsible for the majority of concerning trends in 340B

utilization. The legislative history of the 340B statute reflects that, as of 1992, the statute would

apply to a total of 90 DSH covered entities. H.R. Rep. No. 102-384, pt. 2, at 13 (1992). Today,

the number of DSH covered entities is nearly 1,200. And, although DSH covered entities account


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for less than 10% of all covered entities, their purchases of 340B products at heavily discounted

340B prices in 2022 alone totaled more than $41 billion—accounting for nearly 78% of all

purchases     by     covered    entities.    HRSA,      2022   340B   Covered    Entity   Purchases,

https://bit.ly/3Y1GQ17 (last updated Sept. 2023). That $41 billion in turn represented an increase

of 22% from the prior year alone. Adam Fein, EXCLUSIVE: The 340B Program Reached $54

Billion in 2022—Up 22% vs. 2021, Drug Channels (Sept. 24, 2023), https://bit.ly/3N21SGl.

       56.         DSH 340B purchasing grew at an even higher rate in 2023, reaching a total of $51.9

billion, a nearly 25% increase over 2022.          HRSA, 2023 340B Covered Entity Purchases,

https://bit.ly/3Yktlsj (last updated Oct. 2024). Overall 340B purchasing reached an astronomical

$66.3 billion, 23.4% greater than in 2022. Adam Fein, The 340B Program Reached $66 Billion in

2023—Up 23% vs. 2022: Analyzing the Numbers and HRSA’s Curious Actions, Drug Channels

(Oct. 22, 2024), https://bit.ly/4fhCnwP.

       57.         Research suggests that this substantial growth may be attributed to DSH covered

entities focused on targeting affluent, insured communities, rather than the vulnerable populations

the 340B Program was intended to benefit. Reports have shown that certain DSH covered entities

systematically acquire, for example, sites of care in wealthy areas with high percentages of

commercially-insured patients. See, e.g., Berkeley Rsch. Grp., 340B Covered Entity Acquisitions

of Physician-based Oncology Practices (Apr. 22, 2014) (Covered Entity Acquisitions),

https://bit.ly/3zqMOz8 (demonstrating that acquisitions by DSH covered entities of oncology

practices increased significantly from 2009 to 2012 and involved higher median-income

communities compared to the DSH covered entity); Rena M. Conti & Peter B. Bach, The 340B

Drug Discount Program: Hospitals Generate Profits By Expanding To Reach More Affluent

Communities, 33 Health Affs. 1786 (2014), https://bit.ly/3ZFC9uP (finding an increasing trend of




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clinics acquired by DSH covered entities serving communities with lower poverty rates and higher

mean and median income levels than that of their DSH parent, particularly among newly-registered

DSH covered entities). The expansion by DSH covered entities to wealthier communities runs

counter to the 340B Program’s original intent of serving low-income patients and advancing health

equity.

          58.   In fact, a 2023 analysis found that 65% of DSH covered entities are not even located

in communities HRSA has designated as “medically underserved areas.” AIR340B, 340B – A

Missed Opportunity To Address Those That Are Medically Underserved: 2023 Update (2023),

https://bit.ly/4eDzyG1 (last visited Nov. 12, 2024).

          59.   J&J’s own evidence demonstrates high levels of Program abuse. Indeed, J&J has

identified thousands of transactions in which DSH covered entities received a 340B discount on a

unit of drug for which a state Medicaid program also requested a Medicaid rebate, in violation of

the prohibition against duplicate discounts. For example, J&J found that, from 2022 to 2024, state

Medicaid programs requested Medicaid rebates on:

                •   Over 500 claims for units purchased at the 340B price by each of St. Joseph’s
                    Medical Center and Thomas Jefferson University Hospital;

                •   Over 300 claims for units purchased at the 340B price by University Medical
                    Center of Southern Nevada;

                •   Over 200 claims for units purchased at the 340B price by each of University of
                    Michigan Hospital and Health Center, Sister of Charity Hospital, University of
                    Pittsburgh Medical Center – Presbyterian Shadyside and DuBois Regional
                    Medical Center;

                •   150 claims for units purchased at the 340B price by Boston Medical Center;

                •   Over 100 claims for units purchased at the 340B price by each of Mary
                    Hitchcock Memorial Hospital, Norton Hospitals, Inc., and Presence Saint Mary
                    and Elizabeth Medical Center; and




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               •   Over 75 claims for units purchased at the 340B price by each of Ochsner Clinic
                   Foundation and The Mount Sinai Hospital.

                       Patients Are Not Benefitting From 340B Discounts

       60.     A growing body of evidence also shows that a substantial proportion of covered

entities do not pass on 340B savings to their patients. See 2018 GAO Report at 30 (of the 55

covered entities GAO reviewed, only 30 reported passing any portion of their 340B discounts on

to patients of contract pharmacies; of those, only “23 indicated that they pass on the full 340B

discount to patients, resulting in patients paying the 340B price or less for drugs”).

       61.     Instead, these entities mark up their prices from the 340B discounted level so that

they can capture the difference as arbitrage revenue. Dale R. Folwell, N.C. Dep’t of State

Treasurer, Overcharged: State Employees, Cancer Drugs, and the 340B Drug Pricing Program 2

(May 8, 2024), https://bit.ly/3BltgwC (finding that “[w]hen treating state employees with

outpatient oncology infusion drugs, North Carolina 340B hospitals levied an average price markup

of 5.4 times their discounted acquisition costs”). One recent study found that “[f]rom 2013 to

2021, while the size of the vulnerable population [was] almost halved” due to greater access to

insurance, “340B drug discount revenue [for covered entities] grew by 374% . . . .” Martin et al.,

Unintended Consequences, at 2.

       62.     As early as 2013, Senator Chuck Grassley sounded an alarm that 340B savings

discounts were not being passed on to patients, based on information he had received from three

North Carolina DSH covered entities. Senator Grassley issued a press release reporting that:

               When I looked at three North Carolina hospitals’ use of this program, the
               numbers showed the hospitals were reaping sizeable 340B discounts on
               drugs and then upselling them to fully insured patients to maximize their
               spread. If “nonprofit” hospitals are essentially profiting from the 340B
               program without passing those savings to their patients, then the 340B
               program is not functioning as intended.




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Press Release, Sen. Chuck Grassley, Grassley, Cassidy Seek Answers from Georgia Hospital on

Discount Drug Program (Apr. 18, 2023), https://bit.ly/3TJaoOs.

       63.     Senator Grassley’s concern was well founded. Indeed, instead of passing the steep

discounts that covered entities (and their contract pharmacies) receive on to vulnerable patients,

large pharmacy chains and pharmacy benefit managers are reaping profits from the 340B Program.

       64.     Various studies have analyzed the resulting financial windfall for PBMs and

pharmacies. See, e.g., Peter J. Pitts & Robert Popovian, Food & Drug L. Inst., 340B and the

Warped Rhetoric of Healthcare Compassion (2022), https://bit.ly/3XK1cdG (“Consequently,

PBMs are gaining a greater share of overall 340B contract pharmacy business, even as the overall

contract pharmacy business shrinks. . . . In 2018 alone, hospitals and pharmacies together made

$13 billion in 340B profits. The bulk of the pharmacy take goes to corporations like CVS.”); Ted

Okon, Hospitals and for-profit PBMs are diverting billions in 340B savings from patients in need,

STAT (Jul. 7, 2022), https://bit.ly/4dksUn7 (reporting that “one Wall Street analysis estimates that

$2.58 billion in 340B savings were siphoned away in 2021 by PBM-controlled pharmacies

operated by Walgreens, Caremark, Express Scripts, and OptumRx. That’s $2.58 billion in 340B

discounts that patients never benefit from.”).

       65.     A New York Times report detailed how one 340B entity that has generated

substantial revenue from the Program directed that revenue toward facilities and practices in

wealthy neighborhoods, at the expense of facilities that serve vulnerable communities. See Katie

Thomas & Jessica Silver Greenberg, How a Hospital Chain Used a Poor Neighborhood to Turn

Huge Profits, N.Y. Times (Sept. 27, 2022), https://bit.ly/3N0Y0p7.

       66.     With respect to DSH covered entities in particular, studies have shown that many

are not using the savings they receive from the 340B Program to fund programs that would benefit




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underserved patients. For example, one review found that, for every $10 the 340B hospitals collect

in profit, just $1 is invested in charity care. See Neal Masia, Comparing the Financial Health and

Charitable Care of 340B and Non-340B Hospitals 1, 13 (2023), https://bit.ly/3BikgIx.

        67.     In fact, studies have shown that the majority of DSH covered entities are not

providing more care to disadvantaged patients than the average acute-care hospital. One analysis

found that 69% of 340B DSH covered entities provide charity care at rates lower than the national

average. AIR 340B, Charity Care at 340B Hospitals is on a Downward Trend 2, 6 (Oct. 2023),

https://bit.ly/4eicWep. Similarly, an HHS Office of the Inspector General report found that almost

half of the DSH covered entities it surveyed required uninsured patients to pay the full, non-

discounted price for their medications at their contract pharmacies, even though the hospitals

purchased those drugs at the reduced 340B price. HHS-OIG, Memorandum Report: Contract

Pharmacy Arrangements in the 340B Program, OEI-05-13-00431, at 14 (Feb. 4, 2014),

https://bit.ly/3XKxkOf (finding seven of the 15 DSH covered entities surveyed required uninsured

patients to pay the full cost of their prescriptions).

   J&J Observes Rapidly Increasing 340B Purchasing and Evidence of Potential Program
               Abuse, and Covered Entities Stymie J&J’s Attempts to Audit

        68.     J&J strongly supports the original intent of the 340B Program and has been a proud

participant in the Program for more than three decades. However, J&J has observed concerning

trends in the volume of purchases of its drugs at 340B prices. Across its portfolio, purchases of

J&J’s 340B drugs have increased at a rate three times as fast as its overall sales, and 340B

purchases of certain of its products have increased even faster. From the second quarter of 2023

to the second quarter of 2024, for example, 340B purchases of J&J’s drug STELARA increased

by 55%—about four times as fast as STELARA’s overall sales. Likewise, 340B purchases of

J&J’s drug XARELTO increased by 35%—about seven times as fast as XARELTO’s overall sales.



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These significant 340B purchase increases have occurred while the population of patients either

uninsured or living in poverty has actually declined substantially—from 15.7% of the U.S.

population in 2013 to 8.7% in 2021. See Martin et al., Unintended Consequences, at 8.

       69.     In April 2024, J&J contacted several covered entities that J&J’s data showed had

significantly increased their 340B purchasing of J&J products over the past year. J&J attempted

to engage in good-faith discussions with these entities so that J&J could better understand the

drivers of their substantial increases in utilization and ensure that it did not result in duplicate

discounts or diversion. Unfortunately, most entities offered little substantive response.

       70.     In May and June 2024, J&J submitted letters to HRSA requesting approval to

conduct audits of certain entities and explaining J&J’s concerns with each entity it sought to audit.

Though not required under the 340B statute to do so, J&J’s letters explained its “reasonable cause”

to believe these entities were not complying with the statutory prohibitions on diversion and

duplicate discounting, per 1996 HRSA guidance discussing audit procedures. See 61 Fed. Reg.

65,406, 65,409 (Dec. 12, 1996).         HRSA’s 1996 guidance—though not binding—defines

“reasonable cause” to mean that “a reasonable person could believe that a covered entity may have

violated a requirement of section 340B(a)(5)(A) or (B) of the PHS Act,” i.e., the duplicate

discounting and diversion prohibitions. Id.

       71.     J&J’s letters to HRSA explained why it had reasonable cause to audit these covered

entities. For example, J&J provided information to HRSA demonstrating that purchases by several

of the covered entities evidently resulted in duplicate discounts over the past few years—in some

cases, hundreds of such examples—in violation of the 340B statute.

       72.     In addition to describing the need for the audits and the limited response J&J had

received from its outreach to these entities, J&J attached an audit work plan to each letter submitted




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to HRSA. See 61 Fed. Reg. at 65,409 (asking manufacturers to submit work plans for each

requested audit). The audit work plans also included data request lists, setting forth the information

that J&J’s independent audit firm wanted to collect from the covered entities as part of their audit

work.

        73.     HRSA responded to J&J’s letters by asking J&J to make certain edits to its work

plans, which J&J made. After reviewing J&J’s revised plans, HRSA approved audits for several

covered entities on June 19, 2024, followed by several more on July 12, 2024, ultimately

authorizing J&J to conduct 11 audits of covered entities. J&J’s external independent auditor then

began notifying the covered entities of the HRSA-approved audits and requested that the covered

entities produce the documents and information from the document request list that had been

submitted to HRSA as part of the reasonable cause package.

        74.     Immediately, however, most of the covered entities refused to cooperate with J&J’s

auditors—in violation of their statutory obligation to participate in HRSA-approved audits, 42

U.S.C. § 256b(a)(5)(C). Eight of the covered entities retained outside counsel, and those entities

have refused to provide J&J’s auditors with any information. Instead, they have employed a

variety of tactics to obstruct J&J from exercising its statutory right to conduct the audits that HRSA

has approved.

        75.     Five covered entities have now filed litigation against HRSA in this district seeking

to invalidate its approvals of the audits. See Or. Health & Sci. Univ. v. Johnson, et al., No. 1:24-

cv-02184-RC (D.D.C.); MaineGeneral Med. Ctr. v. Johnson, et al., No. 1:24-cv-02187-RC

(D.D.C.); Univ. of Rochester v. Johnson, et al., No. 1:24-cv-02268-RC (D.D.C.); Children’s Nat’l

Med. Ctr v. Johnson, et al., No. 1:24-cv-02563-RC (D.D.C.); Univ. of Wash. Med. Ctr. v. Becerra,

et al., No. 1:24-cv-02998-RC (D.D.C.).




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       76.     Other covered entities have cited these actions as grounds for refusing to cooperate

with the audits, even though the lawsuits do nothing to alter J&J’s statutory right to audit the

plaintiff entities, provide no legal basis for halting such audits, and are completely irrelevant to

J&J’s audits of other covered entities that have not filed suit.

       77.     To be clear, the 340B statute grants manufacturers an unconditional right to audit a

covered entity’s records relating to their compliance with the statute’s duplicate discounting and

diversion prohibitions, subject solely to HRSA processes regarding the number, scope, and

duration of the audits for individual covered entities. 42 U.S.C. § 256b(a)(5)(C). Moreover, the

340B statute makes compliance with the audit requirement a condition of a covered entity’s

eligibility for the 340B Program. Id.; id. § 256b(a)(4). Therefore, failure to comply with an audit

is grounds for termination from the 340B Program. Nonetheless, the substantial majority of J&J’s

HRSA-approved audits have not proceeded because of unlawful resistance by covered entities.

 J&J Makes the Decision to Offer 340B Pricing to Covered Entities Through a Rebate Model

       78.     To improve transparency in the 340B Program, J&J decided to change the

mechanism it uses to offer 340B pricing to DSH covered entities from a discount model to a rebate

model. Under J&J’s Rebate Model, covered entities would purchase the applicable J&J medicines

from wholesalers at commercial prices, similar to the replenishment models used today. Covered

entities would then obtain the 340B price through a prompt rebate following the covered entity’s

submission of commercially standard claims data for each purchase. J&J expects covered entities

to receive rebate payments prior to the date on which they owe payment to their wholesalers on

the initial medicine purchase, under standard payment terms.

       79.     At implementation, J&J’s Rebate Model is intended to have a limited scope.

Specifically, J&J will utilize the Rebate Model initially to make the 340B ceiling price available

to DSH covered entities on purchases of two J&J drugs—STELARA and XARELTO—for which


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recent increases in 340B purchasing have been particularly pronounced. Once a rebate claim is

submitted, J&J expects the claim to be validated immediately and paid within approximately seven

to ten days. Claim validation simply involves confirming with HRSA’s database that the product

was purchased by a DSH covered entity registered in the HRSA database, that the product was

dispensed or administered by that same registered covered entity, and that the claims data

submission occurred within 45 days of the dispense. If a covered entity submits data promptly

upon dispensing STELARA or XARELTO, it will obtain 340B rebates before payment is due to

wholesalers on the underlying purchase under standard payment terms.

       80.     The Rebate Model offers a number of operational and logistical benefits that will

further the integrity of the 340B Program. For example, by providing timely access to data

indicating that a covered entity both purchased and dispensed a drug, the Rebate Model

substantially increases J&J’s ability to identify duplicate discounts on units purchased at the 340B

price through other health insurance programs, including Medicaid Fee-for-Service, Medicaid

MCOs, commercial PBMs, Medicare Part D, Medicare inflation, and TRICARE retail pharmacy.

       81.     Additionally, the Rebate Model will enable J&J to comply with the IRA, which

requires manufacturers to offer covered entities the lower of the 340B ceiling price or the IRA’s

MFP for applicable drugs. 42 U.S.C. § 1320f-2(d)(2). Per CMS implementing guidance,

manufacturers must offer the reduced price on a unit of a drug within 14 days of receipt of the

notification that the unit was dispensed to an MFP-eligible beneficiary. CMS, Drug Price

Negotiation Program: IPAY 2027 Final Guidance § 40.4 (Oct. 2, 2024), https://bit.ly/3Y719J0.

At the most basic level, extending the applicable price point requires a manufacturer to have real-

time transparency into whether a MFP-eligible unit was purchased by a covered entity at the 340B

ceiling price. The widespread use of replenishment models by covered entities (described above),




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however, makes it impossible to identify 340B units in real time because 340B eligibility is only

determined when the replenishment order is placed, which occurs well after the initial pharmacy

dispense to the 340B patient.

       82.     Nonetheless, CMS’s guidance under the IRA requires manufacturers to report how

they are going to determine the MFP with respect to 340B sales at least three months before the

MFP requirement goes into effect—and then to certify their compliance with this requirement.

CMS, Drug Price Negotiation Program: IPAY 2027 Final Guidance, § 90.2.1. To date, CMS has

identified no mechanism by which manufacturers can identify 340B claims to comply with this

requirement. In fact, CMS recently made clear that it “is not charged with verifying or otherwise

reviewing whether a particular drug claim is a 340B-eligible claim and will not, at this time,

assume responsibility for deduplicating discounts between the 340B ceiling price and MFP.” Id.

at 55. CMS instead deferred to manufacturers to ensure that they properly pay the lower of the

MFP or the 340B price. Id. The Rebate Model will solve for this problem.

       83.     Moreover, the Rebate Model also would provide a mechanism to effectuate the

IRA’s prohibition against duplication across the MFP and the 340B ceiling price. The IRA

specifies that a manufacturer is not required to provide access to the MFP on a drug purchased by

a covered entity at the 340B ceiling price if the 340B ceiling price is lower than the MFP. 42

U.S.C. § 1320f-2(d). Without a solution like the Rebate Model that provides clarity into which

units were purchased at the 340B ceiling price, J&J will be unable to avail itself of this statutory

protection, particularly where regulators refuse to act.

       84.     Additionally, the Rebate Model will reduce the need for costly, inefficient, and

burdensome audits of covered entities—audits that five covered entities have now filed litigation

to block. The Rebate Model will also bring transparency to the identification of 340B claims and




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thereby substantially improve program integrity, which is sorely needed for the reasons described

above.

         85.     On August 23, 2024, J&J issued a notice to DSH covered entities announcing its

intention to adopt the Rebate Model for STELARA and XARELTO. To give the affected DSH

covered entities time to become familiar with the Rebate Model, J&J provided a nearly two-month

notice period and announced that it planned to implement the Rebate Model on October 15, 2024.

         86.     In addition, upon implementation of the Rebate Model, J&J plans to offer a

significant grace period to further support the transition of DSH covered entities to the Rebate

Model. During the grace period, DSH covered entities will be permitted to submit rebate claims

outside of the 45-day submission window. In addition, both before and after the implementation

date, the administrator of the platform that will be used for the Rebate Model will conduct training

programs and will have a customer service team available to address any operational concerns with

the platform.

J&J Discusses its Rebate Model with HRSA, which Adopts the Position that the Rebate Model
                                Violates the 340B Statute

         87.     On July 24, 2024, J&J met with HRSA staff to discuss the trends in 340B utilization

that J&J had observed, the resistance to its approved audits from covered entities, and its plans to

adopt the Rebate Model. J&J explained that audits were proving to be an inefficient, burdensome,

and ineffective means for determining covered entities’ compliance with the 340B Program and

that the Rebate Model, which provides timely access to data and would better promote program

integrity.

         88.     A week later, counsel for J&J sent a letter to HRSA that provided further detail on

the audit issues discussed in the meeting. See Letter from Jeffrey L. Handwerker & Paula Ramer

to Rear Admiral Krista M. Pedley, Dir., Off. of Special Health Initiatives, HRSA, et al. (July 31,



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2024) (attached hereto as Exhibit 1). Counsel for J&J sent follow-up letters to HRSA on August

27 and October 2, updating HRSA on the continued refusal of certain covered entities to participate

in the audits HRSA had approved. See Letter from Jeffrey L. Handwerker & Paula Ramer to Rear

Admiral Krista M. Pedley, Dir., Off. of Special Health Initiatives, HRSA, et al. (Aug. 27, 2024)

(attached hereto as Exhibit 2) and Letter from Jeffrey L. Handwerker & Paula Ramer to Rear

Admiral Krista M. Pedley, Dir., Off. of Special Health Initiatives, HRSA, et al. (Oct. 2, 2024)

(attached hereto as Exhibit 3).

       89.     J&J also sent a letter to HRSA on July 31, providing a detailed description of its

plans to implement the Rebate Model. See Letter from Perry E. Knight, Vice President, Law –

Strategic Customer Grp., Johnson & Johnson, to Rear Admiral Krista M. Pedley, Dir., Off. of

Special Health Initiatives, HRSA, et al. (July 31, 2024) (attached hereto as Exhibit 4). J&J

explained that it intended to implement the Rebate Model on October 15, 2024 for DSH purchases

of STELARA and XARELTO. Id. at 7.

       90.     On August 14, HRSA responded to J&J’s July 31 letter. See Letter from Chantelle

V. Britton, Dir., Off. of Pharmacy Affs., HRSA, to Perry E. Knight, Vice President, Law –

Strategic Customer Grp., Johnson & Johnson (Aug. 14, 2024) (“August 14 Letter”) (attached

hereto as Exhibit 5). In addition to posing more than two dozen questions to J&J concerning the

implementation and operation of the Rebate Model, the August 14 Letter also declared that J&J

lacks authority to adopt the model without HRSA’s prior approval. Id. at 1.

       91.     HRSA’s August 14 Letter noted that the 340B statute directs the HHS Secretary to

“‘enter into an agreement with each manufacturer of covered outpatient drugs under which the

amount required to be paid (taking into account any rebate or discount, as provided by the

Secretary) to the manufacturer’ shall not exceed the statutory ceiling price formula.” Id. at 1




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(quoting 42 U.S.C. § 256b(a)(1)) (emphasis added by HRSA). The letter continued: “To date, the

Secretary has not provided for such rebate as proposed by J&J. Therefore, implementing such a

proposal at this time would be inconsistent with the statutory requirements for the 340B Program,

which require the approval of a rebate model such as J&J has proposed.” Id.

       92.     On August 16, J&J responded in detail to HRSA’s August 14 Letter. See Letter

from Perry Knight, Vice President, Law – Strategic Customer Grp., Johnson & Johnson, to

Chantelle V. Britton, Dir., Off. of Pharmacy Affs., HRSA (Aug. 16, 2024) (“August 16 Letter”)

(attached hereto as Exhibit 6). In addition to answering HRSA’s questions, J&J explained that it

“interprets [HRSA’s] response as a categorical determination that the 340B statute vests [HRSA]

with exclusive discretion to determine whether a rebate model is permissible” and reiterated its

disagreement with that view and its legal basis for implementation of the model. Id. at 1. HRSA

has never disagreed with this interpretation.

       93.     The August 16 Letter also explained that J&J’s Rebate Model responds to

substantial changes in the operation of the 340B Program and the broader healthcare system over

the past three decades. Id. The model, J&J wrote, is “designed to address those changes efficiently

and in a way that maintains 340B discounts for covered entities while also enabling J&J to manage

the impact of the program across other government and commercial programs.” Id.

       94.     The August 16 Letter reiterated to HRSA that J&J’s Rebate Model would have a

limited scope and, as implemented, would apply “only for [DSH] covered entity purchases of

STELARA and XARELTO,” for which “rebates will typically be paid seven to 10 days” following

timely submission of 340B claims. Id. at 4. J&J emphasized that, because the model “utilizes data

that covered entities already maintain and submit to manufacturers and other stakeholders,” “the

rebate model can be implemented with minimal disruption and in a manner that largely makes use




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of the existing distribution framework.” Id. J&J further explained that the model also helps to

address the potential for duplicate discounts resulting from government programs implemented

since the 340B Program’s inception, which have layered rebates and other price concessions on

top of 340B transactions. Id. at 7-8.

       95.     The August 16 Letter informed HRSA that, as a result of HRSA’s August 14 Letter,

J&J had delayed the announcement of its Rebate Model from August 15 to August 23, 2024, as a

show of good faith. Id. at 13. Although J&J was under no obligation to delay its announcement,

it did so to give HRSA a chance to review J&J’s answers in the August 16 Letter to the more than

two dozen questions that HRSA had posed in the August 14 Letter.

       96.     On August 22, J&J sent HRSA an email with a revised notice detailing the Rebate

Model (attached hereto as Exhibit 7). HRSA acknowledged receipt of J&J’s email but provided

no substantive response. J&J accordingly proceeded to issue an announcement of the Rebate

Model to DSH covered entities on August 23.

       97.     Following J&J’s August 23 announcement, several trade associations for large

hospital systems issued statements strongly criticizing the Rebate Model and calling for HRSA to

take action against J&J. To correct the numerous mischaracterizations of the Rebate Model in

these public statements, J&J sent an additional letter to HRSA on September 12, 2024. Letter from

Perry Knight, Vice President, Law – Strategic Customer Grp., Johnson & Johnson, to Chantelle

V. Britton, Dir., Off. of Pharmacy Affs., HRSA (Sept. 12, 2024) (“September 12 Letter”) (attached

hereto as Exhibit 8). Among other things, the September 12 Letter reiterated the basis for J&J’s

legal authority to implement the Rebate Model and explained why the Rebate Model is an

important safeguard to advance program integrity, especially in light of the well-documented

program abuse described above. See id. at 1-4, 8-9. The September 12 Letter also explained to




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HRSA why the Rebate Model would not change the universe of eligible 340B claims or the amount

of the 340B ceiling price extended to or realized by any covered entity; in other words, all

purchases of STELARA and XARELTO that were previously 340B-eligible would remain 340B-

eligible. Id. at 2-3, 8-9. Finally, the September 12 Letter confirmed that the Rebate Model would

not create burdensome administrative requirements for covered entities, because they would be

asked simply to submit information they already collect in the normal course of business, including

through participation in other drug pricing programs. Id. at 3, 9-10.

       98.     On September 17, after what J&J on information and belief understands was

continued petitioning by hospital trade associations, Defendant Johnson sent a letter to J&J. The

letter was posted on HRSA’s website that same day. Letter from Carole Johnson, Adm’r, HRSA

(“September 17 Letter”) (attached hereto as Exhibit 9). The September 17 Letter referred to J&J’s

planned implementation of its Rebate Model and declared: “By way of this correspondence, HRSA

provides warning that this unapproved rebate proposal violates J&J’s obligations under the 340B

statute, and HRSA expects J&J to cease implementation of it.” Id. at 1.

       99.     Citing the 340B statute, the September 17 Letter declared that “[t]he Secretary has

not ‘provided’ that the rebates described in J&J’s notice should be ‘tak[en] into account’ in the

‘amount required to be paid’ for Stelara and Xarelto by disproportionate share hospitals” and

concluded that “[i]f J&J implements its rebate proposal without Secretarial approval, it will violate

Section 340B(a)(1) of the Public Health Service (PHS) Act.” Id. at 2. The September 17 Letter

also asserted wrongly that “J&J’s rebate proposal would require disproportionate share hospitals

to purchase Stelara and Xarelto at prices that exceed ‘the maximum price[s] that covered entities

may permissibly be required to pay’ for those drugs.” Id. The letter stated that “[t]his, too, violates

Section 340B(a)(1) of the PHS Act.” Id.




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       100.    Unlike HRSA’s August 14 Letter, its September 17 Letter did not rely solely on the

fact that the Secretary had not “provided” for a rebate model. As noted above, in 2010, Congress

amended the 340B statute to add language providing that each PPA must “require that the

manufacturer offer each covered entity covered outpatient drugs for purchase at or below the

applicable ceiling price.” 42 U.S.C. § 256b(a)(1). HRSA now asserted—for the first time since

that amendment 14 years ago—that the insertion of this language somehow removed rebates as a

mechanism for making the 340B price available, even though Congress left the “rebate or

discount” language in the same statutory subparagraph entirely untouched. HRSA made no

attempt to square this language with its apparently contradictory position that a rebate model would

be permissible as long as HRSA gives that model its prior approval. Nor did HRSA attempt to

reconcile this position with the continued use of rebate models for ADAPs.

       101.    Finally, the September 17 Letter admonished that “[b]ecause J&J’s rebate proposal,

if implemented, violates J&J’s obligations under the 340B statute, it subjects J&J to potential

consequences,” including termination of J&J’s PPA and the imposition of CMPs. Exhibit 9 at 2.

The September 17 Letter concluded by declaring that “HRSA expects J&J to cease implementation

of its rebate proposal immediately and to inform HRSA no later than September 30, 2024, in order

to provide adequate notice to covered entities.” Id. at 3.

       102.    On September 19, J&J sent HRSA a letter to clarify the misconceptions in the

September 17 Letter. Letter from Perry Knight, Vice President, Law – Strategic Customer Grp.,

Johnson & Johnson, to Carole Johnson, Adm’r, HRSA (Sept. 19, 2024) (“September 19 Letter”)

(attached hereto as Exhibit 10). Specifically, the September 19 Letter emphasized that: (i) the

Rebate Model does not change the universe of eligible 340B claims or the amount of the 340B

ceiling price extended to or realized by any covered entity; (ii) the data that covered entities will




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be asked to submit is standard data already provided to other program stakeholders, meaning

participation in the Rebate Model will not unreasonably burden DSH covered entities, which are

sophisticated hospital systems; (iii) covered entities will determine the timing of their rebate

payments, because after they submit data showing that they have purchased and dispensed

STELARA or XARELTO, that information will be validated immediately, and they will receive

rebate payments within seven to ten days; and (iv) the Rebate Model is necessary to ensure

program integrity given the significant expansion and well-documented abuse of the program,

including through HRSA’s own audit findings. Id. at 1-5. The September 19 Letter also asked

HRSA for a meeting as soon as possible so that J&J and HRSA could continue their discussions.

Id. at 5.

        103.    On September 27, 2024, HRSA responded to J&J’s September 19 Letter. Letter

from Carole Johnson, Adm’r, HRSA (“September 27 Letter”) (attached hereto as Exhibit 11). The

September 27 Letter warned again that “if J&J proceeds with implementing its rebate proposal

without Secretarial approval, it will violate section 340B(a)(1) of the Public Health Service Act.”

HRSA then admonished that if J&J did not notify HRSA by September 30, 2024 that J&J will

cease implementation of the Rebate Model, “HRSA will begin the process outlined in J&J’s

Pharmaceutical Pricing Agreement related to terminating the agreement,” and “will initiate a

referral to the HHS Office of Inspector General pursuant to 42 U.S.C. § 256b(d)(1)(B)(vi),” i.e., a

CMPs proceeding. Id.

        104.    On September 30, 2024, J&J informed HRSA that it was forgoing implementation

of the Rebate Model pending resolution of these issues. Letter from Scott White, Chief Operations

Off., N. Am. Innovative Med., Johnson & Johnson, to Carole Johnson, Adm’r, HRSA (Sept. 30,

2024) (“September 30 Letter”) (attached hereto as Exhibit 12). The September 30 Letter reiterated




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J&J’s unwavering commitment to patients and explained that HRSA’s position on this issue was

detrimental to patients, excessive, and grossly disproportionate. J&J also made clear because of

HRSA’s unwarranted threats of excessive and unlawful penalties, J&J had no choice but to forgo

implementation of the Rebate Model. Id. at 2.

         105.   But for HRSA’s erroneous and unlawful letters, J&J would have proceeded with

the launch of the Rebate Model on October 15, 2024 as planned. Due to HRSA’s actions, however,

J&J temporarily paused implementation of the Rebate Model pending confirmation in this

litigation that it may proceed without risk of CMPs and without risk that patients would be denied

access to life-enhancing and life-saving J&J medicines as a result of termination of J&J’s PPA.

         106.   On October 21, 2024, J&J met with senior HRSA officials to discuss the Rebate

Model.    In the meeting, J&J reiterated that the proposed Rebate Model: (1) will apply at

implementation only to STELARA and XARELTO, J&J’s two products subject to the MFP under

the first year of the IRA; (2) will apply only to purchases by DSH covered entities; (3) will not

reduce the universe of eligible 340B claims, change the 340B price, or diminish the ability of

safety net providers to receive the discounts to which they are entitled; (4) will validate 340B

claims based only on whether units were purchased by a DSH covered entity and dispensed or

administered by such an entity; and (5) will provide payment of rebates within seven to ten days

of receipt of the relevant claims data. J&J also made clear that it will use the data it receives from

the Rebate Model to identify and mitigate the risk of subsequent duplicate discounts from

occurring in other drug purchase channels—not 340B.

         107.   Following the meeting, while maintaining its legal position that HRSA’s approval

of its Rebate Model was not required, J&J sent an email to HRSA inquiring whether HRSA would

approve J&J’s implementation of the Rebate Model as proposed if HRSA approval were required.




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Email from Jeffrey Handwerker to Rear Admiral Krista Pedley, Dir., Off. of Special Health

Initiatives, HRSA, at 2 (Oct. 21, 2024) (attached hereto as Exhibit 13). Noting that time is of the

essence, J&J requested that HRSA provide a response by October 28, 2024. Id.

       108.    HRSA did not provide a response by the requested date. The following day,

October 29, J&J sent an email to HRSA communicating that, in light of the lack of response, J&J

understood that HRSA’s position remained unchanged from its prior letters to J&J, and J&J would

proceed consistent with that understanding. See id. at 1-2.

       109.    On October 30, 2024, HRSA responded that HRSA was “still reviewing the

information [J&J] submitted.” See id. at 1.

       110.    HRSA did not contact J&J again, despite having more than two weeks beyond the

date that J&J initially requested a response. Earlier today, J&J sent HRSA an email stating that:

(1) J&J understands the August 14, September 17 and September 27 letters to reflect HRSA’s final

determination on whether HRSA has the authority to preapprove rebate models and whether J&J’s

proposed Rebate Model is consistent with the 340B statute; and (2) J&J would be filing suit today

challenging HRSA’s final determinations, as set out in the August 14, September 17 and

September 27 letters, that J&J may not proceed with its Rebate Model without HRSA’s approval

and that J&J’s Rebate Model is not permissible under the 340B statute. Email from Jeffrey

Handwerker to Rear Admiral Krista Pedley, Dir., Off. of Special Health Initiatives, HRSA (Nov.

12, 2024) (attached hereto as Exhibit 14).

                                   LEGAL ALLEGATIONS

       111.    The 340B statute requires the HHS Secretary to “enter into an agreement with each

manufacturer of covered outpatient drugs under which the amount required to be paid (taking into




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account any rebate or discount, as provided by the Secretary)” by covered entities is at or below

the 340B ceiling price. 42 U.S.C. § 256b(a)(1) (emphasis added).

       112.    From the start, all stakeholders, including Congress and HRSA, understood that

language to permit either rebates or discounts as the mechanism for providing reduced prices to

covered entities. See 62 Fed. Reg. at 45,824 (“[S]ection 340B does not specify whether entities

should receive the section 340B pricing ‘through a point of purchase discount, through a

manufacturer rebate, or through some other mechanism.’”) (quoting H.R. Rep. No. 102-384, pt. 2,

at 16). As a result, manufacturers are free to select a pricing mechanism at their discretion: Where

the 340B statute does not “prohibit[]” manufacturers “from adopting their policies” imposing

reasonable conditions on 340B purchases, such policies “are lawful” and do not require agency

approval. Sanofi Aventis, 58 F.4th at 703-04; Novartis Pharms. Corp., 102 F.4th at 460-61

(holding that the 340B statute “preserves” manufacturers’ ability to impose reasonable conditions,

including “request[ing] standard information” from covered entities).

       113.    Contrary to HRSA’s current position, the parenthetical phrase “(taking into account

any rebate or discount, as provided by the Secretary)” does not mean that manufacturers must

obtain advance approval from HRSA before adopting a rebate model. The parenthetical phrase in

question appears in subsection (a) of 42 U.S.C. § 256b, which is titled “Requirements for

Agreement with Secretary.”       The words immediately before and immediately after that

parenthetical phrase refer to the terms of the agreements known as PPAs. Specifically, the statute

provides that “The Secretary shall enter into an agreement with each manufacturer of covered

outpatient drugs under which the amount required to be paid (taking into account any rebate or

discount, as provided by the Secretary) to the manufacturer for covered outpatient drugs . . .

purchased by a covered entity . . . does not exceed” the 340B ceiling price. Id.




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       114.    Thus, to the extent the agency has authority to direct a pricing mechanism at all, it

must do so through the PPA. But HRSA never placed such logistical terms in the PPA. Where,

as here, the PPA is silent as to the mechanism by which the 340B price shall be offered, a

manufacturer is free to choose its pricing mechanism without HRSA approval. See Sanofi, 58

F.4th at 704 (explaining the statute “imposes only a price term for drug sales to covered entities,

leaving all other terms blank”). Manufacturers accordingly retain discretion to select a pricing

mechanism.

       115.    In its September 17 Letter, HRSA asserted that the “must-offer” provision of the

340B statute, which Congress added in 2010, prohibits manufacturers from adopting a pricing

mechanism in which covered entities purchase 340B drugs at commercial prices and then receive

a rebate to effectuate the statutory ceiling price. Exhibit 9 at 1-2. On HRSA’s telling, a

manufacturer who relies on rebates to effectuate 340B discounts necessarily fails to “offer” the

340B ceiling price. But HRSA has never before argued that adoption of the must-offer requirement

altered the pricing mechanisms available to manufacturers.        Any such argument would be

untenable, given that the statutory language referencing rebates as an available pricing mechanism

remained unchanged by the 2010 amendment. Moreover, HRSA’s newfound interpretation of the

must-offer provision would preclude the use of any rebate model at all—with or without HRSA’s

permission—and render superfluous the statute’s reference to “any rebate or discount.” 42 U.S.C.

§ 256b(a)(1) (emphasis added).

       116.    The September 17 Letter’s reading of the must-offer provision is also inconsistent

with how the language has been interpreted in decisions of the D.C. Circuit and Third Circuit,

which confirm that the must-offer provision of the 340B statute allows manufacturers to impose

“reasonable conditions” with respect to the offering of 340B drugs. Novartis, 102 F.4th at 459-




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61; Sanofi, 58 F.4th at 704-05. HRSA’s interpretation additionally conflicts with its prior

insistence that it can render use of rebates lawful through “Secretarial approval.” Exhibit 9 at 2.

        117.     Interpreting the must-offer provision to require upfront discounts also fails as a

matter of ordinary meaning. The statute provides that the PPA “shall require that the manufacturer

offer each covered entity covered outpatient drugs for purchase at or below the applicable ceiling

price.” 42 U.S.C. §256b(a)(1) (emphases added). “Price” means “[t]he cost of acquiring or

producing something.” Price, Black’s Law Dictionary (12th ed. 2024). Under the plain language

of the statute, the “price” at which covered entities will be able to “purchase” J&J drugs under its

Rebate Model is the ceiling price.

        118.     Indeed, it is commonly understood that “[t]he transaction price of a prescription

drug . . . includes discounts and rebates.” PhRMA v. David, 510 F. Supp. 3d 891, 898 (E.D. Cal.

2021). Manufacturers routinely “offer[] lower prices . . . through rebates or discounts.” Cash &

Henderson Drugs, Inc. v. Johnson & Johnson, 799 F.3d 202, 206 (2d Cir. 2015) (emphasis added);

see also, e.g., FTC v. Cardinal Health, Inc., 12 F. Supp. 2d 34, 41 (D.D.C. 1998) (explaining that

drug manufacturers may offer “cash rebates” to wholesalers that result in a wholesaler “acquir[ing]

the drugs for prices less than the listed WAC”) (emphasis added). Stated simply, an offer to

purchase a drug and then receive a rebate is an offer to purchase the drug at the price after the

rebate. J&J’s Rebate Model therefore does not result in covered entities paying more than the

ceiling price.

        119.     That understanding aligns with HHS’s implementation of the Anti-Kickback

Statute (“AKS”), 42 U.S.C. § 1320a-7b(b). Under AKS safe-harbor regulations, a “discount” is

“a reduction in the amount a buyer … is charged for an item or service based on an arms-length

transaction.” 42 C.F.R. § 1001.952(h)(5). A rebate, in turn, is “any discount the terms of which




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are fixed and disclosed in writing to the buyer at the time of the initial purchase to which the

discount applies, but which is not given at the time of sale.” Id. § 1001.952(h)(4). In other words,

a “rebate” is a type of “reduction in the amount a buyer … is charged for an item.” The purchaser

is still “charged” the reduced amount, regardless of whether the reduction is pre- or post-offer. See

also, e.g., 42 U.S.C. § 1396r-8(c)(2)(C)(ii)(I) (“best price” under Medicaid Drug Rebate Program

“shall be inclusive of cash discounts, … volume discounts, and rebates”); 42 C.F.R. § 447.505(b)

(implementing Medicare regulation defining “[b]est price” to include “applicable discounts,

rebates, or other transactions that adjust prices either directly or indirectly”); 42 U.S.C. § 1395w-

102(d)(1)(B) (Medicare Part D statute providing that “negotiated prices … shall take into account

negotiated price concessions, such as discounts, direct or indirect subsidies, rebates, and direct or

indirect remunerations, for covered [Medicare] Part D drugs”); 42 C.F.R. § 423.100 (defining

“[p]rice concession” for Medicare Part D as “any form of discount, direct or indirect subsidy, or

rebate received by the Part D [plan] sponsor . . . that serves to decrease the costs incurred under

the Part D plan”).

       120.    For these reasons, the “must-offer” provision by its plain terms is satisfied when a

covered entity is initially charged a higher price and subsequently receives a rebate that reduces

the net price to the ceiling price for that drug. And as discussed above, here, if DSH covered

entities submit the required information in a timely fashion, they will obtain the 340B rebate before

payment is due to wholesalers on the underlying purchase.

       121.    Nor does any other provision of the 340B statute limit manufacturers’ discretion to

select a pricing mechanism or grant HRSA discretion to mandate one through the August 14,

September 17, and September 27 letters. HRSA lacks “broad rulemaking authority” under the

340B statute and is authorized to issue binding regulations only in certain narrow areas specified




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by Congress. PhRMA v. HHS, 43 F. Supp. 3d 28, 42 (D.D.C. 2014); see PhRMA v. HHS, 138 F.

Supp. 3d 31, 48 (D.D.C. 2015).

       122.    HRSA’s position that J&J may not implement the Rebate Model without HRSA

consent, as articulated in the August 14, September 17, and September 27 letters, is thus

inconsistent with the 340B statute and governing law.

       123.    Moreover, HRSA’s refusal to approve J&J’s Rebate Model under the

circumstances is arbitrary and capricious. In rejecting the Rebate Model, HRSA failed to

adequately consider that the replenishment models that the majority of covered entities use, which

HRSA has acquiesced in for more than a decade, operate just as rebate models do. Under a

replenishment model, drug units are purchased at WAC, and the 340B price is realized once the

covered entity’s third-party administrator determines that a sufficient number of units have been

dispensed to 340B-eligible patients and places an order to replenish the stock of the drug. The

Rebate Model is similar in critical respects—drug units are purchased at WAC and the 340B price

is realized after the initial sale, albeit much faster than the weeks or months a replenishment model

can sometimes require. And, unlike replenishment models, manufacturer rebate models are

expressly contemplated and authorized by the 340B statute.

       124.    Nowhere in HRSA’s communications with J&J did the agency adequately explain

why it treated J&J’s Rebate Model differently from the replenishment models that covered entities

have used for over a decade. Instead, in its September 17 letter, HRSA tried to distinguish

replenishment models from rebate models by asserting that, under the “typical replenishment

structure,” the covered entity purchases the initial unit at WAC and then subsequent units are

replenished at the 340B price. Exhibit 9 at 2. But that is materially the same as how J&J’s Rebate

Model will work. The covered entity will purchase a unit at WAC and then obtain a rebate within




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seven to ten days after submitting data supporting the 340B purchase. The rebate plays the same

role as the replenishment unit in ensuring that the prior purchase nets the 340B price.

       125.    Moreover, HRSA’s assertion in the September 17 letter that replenishment models

are distinct from rebate models because “covered entities voluntarily choose to use replenishment

processes” whereas “J&J’s proposal is not voluntary for covered entities” is quintessentially

arbitrary. Exhibit 9 at 2. It treats one class of program stakeholders—covered entities—more

favorably than another set of stakeholders—manufacturers. If covered entities are permitted under

the statute voluntarily to implement replenishment models without HRSA consent, then it surely

follows that manufacturers could voluntarily implement rebate models without HRSA consent.

This is especially so given that the statute expressly references rebates as a means of effectuating

340B prices but nowhere mentions replenishment models.

       126.    HRSA’s letters threaten J&J with substantial legal exposure—including to CMPs

and the termination of its PPA (leading to loss of access to all J&J drugs for Medicare Part B and

Medicaid recipients nationwide)—for implementing its Rebate Model. As a result, the letters are

final agency actions and ripe for judicial review. See Bellion Spirits, LLC v. United States, 7 F.4th

1201, 1209 (D.C. Cir. 2021); see also Ipsen Biopharms., Inc. v. Azar, 943 F.3d 953, 957 (D.C. Cir.

2019) (similar); Sackett v. EPA, 566 U.S. 120, 126-27 (2012).

       127.    First, because they declare HRSA’s binding, final interpretation of the 340B

statute—that manufacturers may not implement rebate models unilaterally, and that HRSA may

direct a pricing mechanism by letter and impose severe penalties for non-compliance—the August

14, September 17, and September 27 Letters “mark[] the consummation of [HRSA’s]

decisionmaking process and [are] not of a merely tentative or interlocutory nature.” Bellion

Spirits, 7 F.4th at 1208 (quoting Soundboard Ass’n v. FTC, 888 F.3d 1261, 1267 (D.C. Cir. 2018)).




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Plainly, “[t]he letter[s] put[] forth the agency’s official position about how the [340B statute]

appl[ies] to” J&J’s plan to implement its Rebate Model. Id. The September 27 Letter is

unequivocal: HRSA has declared that J&J’s Rebate Model is unlawful and that it will refer J&J

for CMPs and begin the process to terminate its PPA if J&J proceeds as planned. HRSA has not

revisited that determination in any subsequent communication with J&J. The agency’s decision-

making process is unquestionably consummated.

       128.    Second, the letters are “action[] by which rights or obligations have been

determined, or from which legal consequences will flow.” Id. (quoting Soundboard Ass’n, 888

F.3d at 1267). HRSA expects immediate compliance, and it will undoubtedly argue in any CMP

proceeding that the September 17 Letter and September 27 Letter “extinguish[ed] any willfulness

defense [J&J] otherwise might assert” about the legality of its Rebate Model, which, if successful,

would expose J&J to penalties. Id. at 1209. In light of those purported legal consequences, the

September 17 and September 27 letters are final. See id.; cf. AstraZeneca Pharms. LP v. Becerra,

543 F. Supp. 3d 47, 57-58 (D. Del. 2021) (concluding an HHS 340B advisory opinion was final

agency action).

       129.    HRSA’s letters are also ripe for review. J&J’s challenge is “fit for judicial

decision” because it involves final agency action “and because ‘judicial intervention’ would not

‘inappropriately interfere with further administrative action.’” Bellion Spirits, 7 F.4th at 1209

(quoting Ohio Forestry Ass’n, Inc. v. Sierra Club, 523 U.S. 726, 733 (1998)). As for “hardship to

the parties,” if the Court were to withhold review, J&J “could obtain judicial review of [HRSA’s]

position only by flouting the [August 14 Letter, September 17 Letter, and September 27 Letter]

and [implementing the Rebate Model], thereby risking the imposition of civil [monetary]

penalties” and termination of its PPA. Id. “The ripeness requirement does not require parties to




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subject themselves to that kind of jeopardy.” Id. (citing Unity08 v. FEC, 596 F.3d 861, 866 (D.C.

Cir. 2010)).

                                      CLAIM FOR RELIEF

                     Violation of the Administrative Procedure Act
   (Declaratory/Injunctive Relief – HRSA’s August 14 Letter, September 17 Letter, and
        September 27 Letter are arbitrary, capricious, an abuse of discretion, and
                               not in accordance with law)

       130.    Plaintiff realleges and incorporates by reference all prior and subsequent

paragraphs.

       131.    The APA requires courts to “hold unlawful and set aside agency action” that is

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law,” 5 U.S.C.

§ 706(2)(A), or is “in excess of statutory jurisdiction, authority, or limitations,” id. § 706(2)(C).

       132.    The 340B statute expressly contemplates rebates as a mechanism through which a

manufacturer may provide 340B pricing to covered entities, but the statute does not require a

specific mechanism. To the extent the statute vests Defendants with any authority to direct a

pricing mechanism, they may do so only through the PPA. Because the PPA does not specify a

pricing mechanism, the 340B statute authorizes manufacturers to select a rebate model.

       133.    HRSA’s August 14 Letter, September 17 Letter, and September 27 Letter therefore

improperly declare that J&J may not implement its Rebate Model without prior HRSA approval.

       134.    HRSA’s declaration, as set out in its August 14, September 17, and September 27

letters, that J&J’s Rebate Model violates the 340B statute is final agency action that is arbitrary,

capricious and not in accordance with law, 5 U.S.C. § 706(2)(A), and in excess of statutory

jurisdiction or authority, id. § 706(2)(C).

       135.    HRSA’s declaration, as set out in its August 14, September 17, and September 27

letters, that J&J may not implement its Rebate Model without HRSA approval is also final agency



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action that is arbitrary, capricious, and not in accordance with law, id. § 706(2)(A), and in excess

of statutory jurisdiction or authority, id. § 706(2)(C).

       136.     The August 14 Letter, September 17 Letter, and September 27 Letter must therefore

be set aside and vacated.

                                     PRAYER FOR RELIEF

       NOW, THEREFORE, Plaintiff Johnson & Johnson Health Care Systems Inc. requests a

judgment in its favor against Defendants as follows:

       1.       Declare that HRSA’s determination, as set out in HRSA’s August 14 Letter,

September 17 Letter, and September 27 Letter, that J&J may not implement a rebate model without

HRSA’s consent is arbitrary and capricious, an abuse of discretion, and unlawful under the APA

and the 340B statute;

       2.       Set aside and vacate HRSA’s August 14 Letter, September 17 Letter, and

September 27 Letter and declare that J&J’s Rebate Model is lawful under the 340B statute;

       3.       Enjoin Defendants from commencing any enforcement action against J&J relating

to or arising from J&J’s implementation of the Rebate Model;

       4.       Award Plaintiff reasonable attorneys’ fees and costs; and

       5.       Grant such other and further relief as the Court may deem appropriate.




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Dated: November 12, 2024            Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that this document will be served on Defendants in accordance with Fed.

R. Civ. P. 4.


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